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EXHIBIT B

Declaration of Robert A. Stein
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENN SYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION INJURY
LITIGATION . | MDL No, 2323

Declaration of Robert A. Stein Hon. Anita B. Brody

1. I, Robert A. Stein, am an attomey representing clients in this litigation.

2, This Declaration is in support of the application of Jason Luckasevic and his firm for
legal fees relating to the NFL Concussion Litigation.

3. [| was an NFL player and the attorney who conceived the legal theory and generally
initiated the class action on behalf of retired NFL players concerning the unauthorized
use of their publicity rights, Dryer v. NFL. I believe I consequently have a unique
understanding of the challenges to developing legal theories which adequately address
complex retired player issues, fulfill technical legal requirements, yet are understood and.
resonate with large numbers of retired NFL players. Satisfying this combination of
requirements is difficult, and requires unusual credibility with the retired player group.
In my opinion, Mr. Luckasevic overcame all of these challenges in the initiation of the
first lawsuits which led to this class action. Without his efforts, I have serious doubts
that a significant class action would have ensued. NFL concussion issues had been
publicly known long before he began his labors.

4. Mr. Luckasevic spent significant time and effort prior to July, 2011 looking into the facts
and law surrounding possible concussion litigation, as I know personally from direct
communications with him at that time. The financial risk undertaken by him and his firm
was significant, and, in my opinion, ultimately necessary to the filing of the cases which
began this entire litigation.

5. This legal area is unusually complex, requiring an innovative evaluation of unique
causation, professional football operation and medical issues. Mr. Luckasevic was a
pioneer in these evaluations, a necessary precursor to the eventual class litigation and
proposed settlement.
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6. I believe Mr. Luckasevic’s efforts in originating the NFL concussion litigation are
especially worthy of compensation in light of the fact that almost no discovery took
place. Compared with the prolonged and expensive discovery that is typical of most
class actions, here the filing of the first two complaints by Mr. Luckasevic’s firm and co-
counsel set off a chain of events eliciting the filing of thousands of cases against the NFL
and resulting in the eventual class action settlement.

7. I swear under penalty of perjury that the foregoing is true and correct.

Executed August 22, 2016 Aled Ma

Robert A, Stein

